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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                       Plaintiff,                                        8:15CR343

       vs.
                                                                           ORDER
DIONTE DORTCH,

                       Defendant.


This matter is before the court on defendant's MOTION TO EXTEND PRETRIAL MOTION
DEADLINE [26]. For good cause shown, I find that the motion should be granted. Pretrial Motions
shall be filed by December 29, 2015.


       IT IS ORDERED:


       1.      Defendant's MOTION TO EXTEND PRETRIAL MOTION DEADLINE [26] is
granted. Pretrial motions shall be filed on or before December 29, 2015.


       2.      The ends of justice have been served by granting such motion and outweigh the
interests of the public and the defendant in a speedy trial. The additional time arising as a result of
the granting of the motion, i.e., the time between December 16, 2015 and December 29, 2015, shall
be deemed excludable time in any computation of time under the requirement of the Speedy Trial
Act for the reason defendant's counsel required additional time to adequately prepare the case, taking
into consideration due diligence of counsel, and the novelty and complexity of this case. The failure
to grant additional time might result in a miscarriage of justice. 18 U.S.C. § 3161(h)(8)(A) & (B).




       Dated this 16th day of December, 2015.

                                                       BY THE COURT:
                                                       s/ F.A. Gossett, III
                                                       United States Magistrate Judge
